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 1                                                          The Honorable Marsha J. Pechman

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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
10

11    RYAN KARNOSKI, et al.,                       Case No. 2:17-cv-01297-MJP

12                Plaintiffs, and                  JOINT STATUS REPORT
13    STATE OF WASHINGTON,
14                Plaintiff-Intervenor,
15
            v.
16
      DONALD J. TRUMP, in his official capacity
17    as President of the United States, et al.,

18                Defendants.
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                                                                    2101 Fourth Avenue, Suite 1500
     JOINT STATUS REPORT
                                               NEWMAN DU WORS LLP     Seattle, Washington 98121
     [Case No.: 2:17-cv-01297-MJP]
                                                                            (206) 274-2800
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 1          In advance of the April 2, 2020 status hearing, the parties respectfully submit the following
 2   Joint Status Report.
 3                                         PLAINTIFFS’ STATEMENT1
 4          In this Joint Status Report, Plaintiffs provide the Court an update on five issues:
 5          1.     The Government’s production of documents in response to Request for Production
 6                 Nos. 20, 43, and 54;
 7          2.     The Government’s revised written objections to Plaintiffs’ first fifteen prioritized
 8                 Requests for Production;
 9          3.     The Government’s responses to Plaintiffs’ most recent prioritized Requests for
10                 Production;
11          4.     The Government’s responses to Plaintiffs’ Fourth Set of Requests for Production;
12                 and
13          5.     Deposition scheduling.
14   A.     Requests for Production Nos. 20, 43, and 54
15          The parties conferred on March 18, 2020 with regard to numerous issues, including the
16   Government’s production in response to Request No. 20 (Washington-based applications to join
17   the military), No. 43 (evacuations of transgender service members from deployment), and No. 54
18   (waivers of gender dysphoria as disqualifying condition), as Plaintiffs still had not received
19   documents responsive to these Requests. The Government stated that it had initiated searches
20   and started to collect documents responsive to these requests. 2 Plaintiffs have requested that the
21   Government produce documents on a rolling basis as they are available. Time is of the essence
22   moving forward, as depositions are swiftly approaching, and therefore the Government’s prompt
23   production of these documents is critical.
24   B.     First Fifteen Prioritized Requests for Production
25          On March 3, 2020, the Government served supplemental written objections and responses
26   to Plaintiffs’ first 15 Prioritized Requests for Production, pursuant to the Court’s oral ruling on
27
     1
28     Plaintiff-Intervenor State of Washington agrees with Plaintiffs’ Statement herein.
     2
       The Government confirmed its search for Washington-specific information is limited to Request No. 20.
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 1   February 3, 2020 that the Government amend its written discovery responses and remove
 2   boilerplate objections. (See 2/3/2020 Hr’g Tr., Dkt. No. 410, at 57:8–17.) Shortly thereafter,
 3   Plaintiffs raised a number of deficiencies regarding the Government’s amended responses to
 4   Request Nos. 13, 26, 44, 65, 66, and 68. During the parties’ March 18 meet and confer, the
 5   Government confirmed that it had produced all documents responsive to Request Nos. 13, 65,
 6   66, and 68. The Government also agreed to consult with the Department of Defense (“DoD”) to
 7   determine if there is a location or office in the DoD where documents responsive to Request
 8   No. 26 (cost of hormone therapy by condition for service members) are likely to exist.
 9         With regard to Request No. 44, however, the parties are at an impasse. In particular,
10   Request No. 44 seeks “[d]ocuments sufficient to show, for each service branch since
11   June 30, 2016, the name, rank, and service unit of each transgender service member rendered
12   non-deployable on account of gender dysphoria or transition-related medical care, and the
13   duration of and specific reason(s) for such non-deployability.” In its supplemental response, the
14   Government stated merely that it had produced all data “presented to the Panel of Experts” and
15   underlying data used by the Military Services “to formulate data presented to the Panel of
16   Experts.” Plaintiffs believe that all data should be produced regarding the deployability of
17   transgender service members, not just the data presented to the Panel. Yet despite this Court
18   previously ruling that other discovery should not be limited to Panel information (see, e.g.,
19   2/3/2020 Hr’g Tr., Dkt. No. 410, at 12:24–13:8), the Government still refuses to produce all
20   documents responsive to Request No. 44. The parties are preparing a LCR 37 joint motion
21   regarding this Request and anticipate filing the motion by April 10, 2020.
22   C.    Next Five Prioritized Requests for Production
23         On March 6, 2020, Plaintiffs identified Request Nos. 16, 19, 23, 27, and 28 as their next
24   five prioritized RFPs, and the parties discussed these Requests during their March 18 meet and
25   confer. With regard to Request No. 16 (accession waivers for transgender applicants) and No. 23
26   (June 2017 delay of transgender accessions), the Government stated that other than documents
27   withheld on deliberative process privilege grounds, documents responsive to these requests have
28   already been produced. With regard to Request No. 19 (discharge proceedings against
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 1   transgender service members), the Government has objected to the request as burdensome, but
 2   has agreed to provide additional information on the burden of collecting responsive documents.
 3   In response to Request No. 27 (documents relating to February 22, 2018 Mattis Memorandum,
 4   including drafts) and No. 28 (policies considered as alternatives to the Ban), the Government
 5   contends that further discussion regarding withheld documents cannot occur because these
 6   documents purportedly overlap entirely with Request No. 29, which is subject to the Ninth
 7   Circuit administrative stay. Plaintiffs disagree that any requests other than Request Nos. 15 and
 8   29 are subject to the Ninth Circuit administrative stay, and that the Government should engage in
 9   the application of the privilege to other requests that may be subsumed within Request No. 29.
10         Plaintiffs also note that the Government has objected overall to moving forward with the
11   prioritized RFP procedure on a rolling basis. In particular, the Government contends that
12   Plaintiffs can only identify new RFPs after further direction from the Court, though Plaintiffs
13   understood the Court to order the parties to operate on a 30-day timeframe of issuing new
14   prioritized requests:
15            MR. HEINZ: So the next five, we will send those over to the government by the
              end of the week and we’ll begin work on those.
16
              THE COURT: Okay. Now, please, don’t be asking for more than you need. We
17            have enough problems. Okay? What I’m asking of you is to get to work on those,
18            because I’m going to expect that you turn out your next five. They are due in
              30 days.
19

20   (2/3/2020 Hr’g Tr. at 61:15–23 (emphasis added).) Plaintiffs request that the Government

21   promptly serve amended written discovery responses for the latest prioritized RFPs identified on

22   March 6, 2020 and commit to continuing the prioritized RFP process on a rolling 30-day basis.

23   D.    Fourth Set of Requests for Production

24         On March 9, 2020, the Government served objections and responses to Plaintiffs’ Fourth

25   Set of Requests for Production. On March 12, Plaintiffs wrote to the Government identifying

26   deficiencies in the Government’s responses to the Fourth Requests and requesting a meet and

27   confer. The parties met and conferred concerning Request Nos. 73, 74, 75, 77, 80, 81, 82, and

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 1   83. The parties are still discussing these Requests except for two, Request Nos. 73 and 74, at
 2   which the parties are at an impasse.
 3           In particular, Request No. 73 seeks “[a]ll Documents related to transgender military
 4   service in the possession, custody, or control of Lt. Col. Kevin Cron, Col. Christopher D.
 5   Meyering, or Col. Steven E. Pflanz.” Request No. 74 seeks “[a]ll Documents related to
 6   transgender-related medical care in the possession, custody, or control of Lt. Col. Kevin Cron,
 7   Col. Christopher D. Meyering, or Col. Steven E. Pflanz.” The Government disclosed these three
 8   witnesses as “hybrid fact/expert witnesses” pursuant to Federal Rule of Civil
 9   Procedure 26(a)(2)(A). According to the Government’s Rule 26(a) disclosures, these
10   Government employees are expected to offer testimony concerning medical deployment
11   standards and the military’s capabilities with respect to treating medical conditions in the
12   deployed environment, medical accessions standards, and medical retention standards. In
13   response to Request Nos. 73 and 74, however, the Government will only produce documents
14   relied upon by these witnesses in forming their expert opinions. But these witnesses are not just
15   experts; they are Government employees disclosed by the Government as hybrid fact/expert
16   witnesses. Thus, the Government has no basis to refuse to produce documents in the possession,
17   custody, and control of these witnesses that relate to the core issues in this case, namely
18   transgender military service and transgender healthcare. 3 The parties are preparing a LCR 37
19   joint motion regarding these Requests and anticipate filing the motion by April 10, 2020.
20   E.     Depositions
21          The parties started to schedule depositions for late March through May but have since
22   cancelled many depositions as a result of the coronavirus pandemic. Plaintiffs have started to
23   resume scheduling depositions in late April and May in the event travel restrictions and public
24   health demands loosen in the next three weeks.
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28     Plaintiffs clarified to the Government that they are not seeking individual medical records in the possession of
     these witnesses, but rather documents relating to transgender military service and transgender healthcare generally.
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 1                                         DEFENDANTS’ STATEMENT
 2   A.     The Court’s Recent Discovery Orders
 3          The Court recently has issued a series of discovery orders. First, on March 4, 2020, the
 4   Court ordered Defendants to (1) review a list of hundreds of names and/or email addresses on a
 5   list created by Plaintiffs and provide names and titles for any government officials; (2) provide
 6   the Court in camera evidence and documents related to any communications with third parties on
 7   Plaintiffs’ list that Defendants wish to protect; and (3) produce to Plaintiffs all other
 8   communications with third parties on Plaintiffs’ list, all within ten days. Order, Dkt. 454.
 9   Defendants complied with the Court’s order. On March 14, 2020, Defendants (1) provided
10   Plaintiffs with updated information regarding the hundreds of names and emails addresses on
11   Plaintiffs’ list; (2) submitted to the Court in camera declarations and evidence establishing
12   consultant relationships with a contract law clerk, the RAND Corporation, and Kennell and
13   Associates, as well as privileged communications with those consultants, see Notice, Dkt. 460;
14   and (3) produced to Plaintiffs all other communications with the third parties on Plaintiffs’ list.
15          Second, the same day the Court issued its order related to third parties, it ordered
16   Defendants to produce thousands of “family” documents that Defendants had withheld for non-
17   responsiveness, again within ten days. Order, Dkt. 455. Defendants complied with the Court’s
18   order. On March 14, 2020, they produced thousands of documents previously marked non-
19   responsive. In addition, Defendants filed a consent motion for clarification that Defendants were
20   not required to produce privileged documents that previously had been withheld for non-
21   responsiveness. The Court granted the consent motion, but ordered Defendants to file a privilege
22   log by March 20, 2020, and to file any such privileged documents with the Court in camera by
23   March 27, 2020. Order, Dkt. 464. Defendants complied with the Court’s order. On March 20,
24   2020, they filed a privilege log to the Court, and, on March 26, 2020, filed the documents ex
25   parte on the docket in camera review.4 See Notice, Dkt. 465; Notice, Dkt. 468.
26          Third, on March 5, 2020, the Court ordered Defendants, within eleven days, to supplement
27   4
       Defendants attempted to deliver paper copies of these documents to chambers, but due to the Court’s current
28   closures, were unable to do so. If the Court desires paper copies of these records, Defendants can arrange for staff
     from the U.S. Attorney’s Office for the Western District of Washington to provide them.
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 1   their responses to (1) Plaintiffs’ Interrogatory Nos. 16 and 17 to provide the “principal authors”
 2   of Secretary Mattis’s memorandum to the President and the Department of Defense’s (“DoD”)
 3   Report and Recommendations; and (2) Plaintiffs’ Interrogatory No. 18 to provide the names of
 4   the transgender services members and commanders who participated in any Panel of Expert
 5   meetings, and to “provide information describing in detail, for each attendee and person
 6   supporting the Panel who has been identified, the information or input provided by that person.”
 7   Order, Dkt. 458. Defendants complied with this order. On March 16, 2020, they served Plaintiffs
 8   with supplemental interrogatory responses identifying the principle authors of the Mattis
 9   Memorandum and DoD’s Report, providing the names of the commanders and transgender
10   servicemembers who presented to the Panel, and describing in detail the information and input to
11   the panel. On March 27, 2020, Defendants again supplemented their response to Interrogatory
12   No. 18, with additional detail they had obtained.
13   B.    Supplemental Searches for Requests for Production Nos. 20, 43, and 54
14         As Plaintiffs note above, Defendants have initiated searches for additional documents
15   responsive to RFP Nos. 20, 43, and 54. Defendants are proceeding as expeditiously as possible to
16   complete these searches and review relevant documents. Defendants will produce non-privileged
17   documents responsive to RFP Nos. 20, 43, and 54 on a rolling basis and anticipate making a
18   production by April 3, 2020.
19   C.    Plaintiffs’ Next Set of Prioritized Requests for Production
20         At the time of the February 3, 2020 status conference, Plaintiffs had identified ten
21   prioritized requests for production. The Court explained that, prior to the next status conference,
22   scheduled for April 2, 2020, Plaintiffs were to identify an additional five prioritized RFPs. This
23   would put the parties at a total of 15 prioritized RFPs. The Court was clear: “[T]he next time to
24   come see me. You know there’s an additional five.” (2/3/20 Hr’g at 68:20–21). In turn, the
25   question of whether deliberative process privilege should be lifted for such documents depends
26   on the “need for the materials and the need for accurate fact-finding override[s] the government’s
27   interest in non-disclosure,” Karnoski, 926 F.3d at 1206 (quoting FTC v. Warner Commc’ns Inc.,
28   742 F.2d 1156, 1161 (9th Cir. 1984)). This is a recursive process; the Court must examine what
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 1   Defendants have already released in order to assess whether there remains a need for any
 2   additional documents.
 3         Plaintiffs have not conformed to the Court’s direction. Rather than identify an additional
 4   five prioritized RFPs, Plaintiffs since the February 3 status conference have attempted to identify
 5   ten prioritized RFPs, for a total of twenty. This is despite the Court’s clear instruction and
 6   repeated statements at multiple hearing that Plaintiffs were to identify five—not ten—additional
 7   RFPs. (Id. at 17:16 (“I say, fine, we’re going to do five at a time.”); 61:22 (“I’m going to expect
 8   that you turn out your next five”); 59:19 (“We’re about to pick five more”)); (12/10/19 Hr’g at
 9   41:15–17 (“Okay. Well, this is what you need to do: Five more, okay? Five more interrogatories
10   that you put together in order of priority”); 43:3–4 (“Okay. All right. So we’ve got our plan. You
11   have to, by Friday, get your next five.”)). Tellingly, at the February 3 status conference,
12   Plaintiffs’ themselves acknowledged that they were supposed to pick five RFPs. (2/3/20 Hr’g at
13   61:15–17 (Statement by Plaintiffs’ counsel: “So the next five, we will send those over to the
14   government by the end of the week and we'll begin work on those.”); 61:5–8 (Statement by
15   Plaintiffs’ counsel: “In terms of the next five, I think, Your Honor, we just need to confer based
16   on Your Honor's guidance today and can get back to the government with our next five in the
17   next day or so.”)).
18         Plaintiffs now suggest that they were permitted to identify more than five RFPs before the
19   next hearing, so long as they did so in groups of five spread thirty days apart. But they fail to
20   explain how selecting more than five new RFPs could be consistent with the Court’s instruction
21   that “the next time to come see me. You know there’s an additional five.” (2/3/20 Hr’g at 68:20–
22   21) Plaintiffs point to the Court’s statement that the next five RFPs are “due in 30 days.” (2/3/20
23   Hrg. Tr. at 61:23) But Defendants understood that statement to refer to the deadline by which
24   they were to supplement their responses to the five RFPs—not the date by which Plaintiffs could
25   select an additional five RFPs without coming back before the Court.
26         This is not just an issue of technical compliance with the Court’s instructions. The whole
27   point of the Court’s procedure is that Plaintiffs would be forced to prioritize those RFPs they felt
28   they actually needed to prove their case—and for which they asserted their need overcame
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 1   Defendants’ significant interests in protecting confidential deliberations concerning military
 2   policy. Plaintiffs can hardly contend that deliberative documents responsive to their 19 th or 20th
 3   most important RFP are a priority for proving their case. (See 11/12/19 Hr’g at 63:18–20
 4   (statement by the Court: “You’re not going to have to do 50. You're not going to have to do 100.
 5   You're not going to have to do 200. You’re probably going to have to do three, four or five.
 6   Okay?”)). This is especially true given that Plaintiffs repeatedly have selected overbroad and
 7   overlapping RFPs, despite this Court’s direction that Plaintiffs should not “be asking for more
 8   than [they] need,” (Feb. 3, 2020 Hr’g at 61:19). At this stage, the Court should order the parties
 9   to focus on resolving the fifteen RFPs already identified, so that document discovery can be
10   completed and further extensions of the case schedule are not necessary.
11   D.    Plaintiffs’ RFP No. 26
12         With respect to RFP No. 26 (cost of hormone treatment for service members broken out by
13   medical condition), Plaintiffs state correctly that Defendants have agreed to consult with the
14   Department of Defense to see if there is an office or location within DoD where responsive
15   documents are likely to exist.
16   E.    Plaintiffs’ RFP No. 44
17         As Plaintiffs point out, the parties have reached an impasse with respect to RFP No. 44
18   (documents showing name, rank, service unit, reasons, and duration, for each service member
19   rendered non-deployable due to gender dysphoria or transition). The parties currently are
20   preparing an LCR 37 joint motion concerning the request, which they anticipate filing by April
21   10, 2020. Defendants will respond on the merits to Plaintiffs’ contentions regarding RFP No. 44
22   in that filing.
23   F.    Plaintiffs’ 16th Through 20th Prioritized RFPs
24         As set forth above, the Court should order the parties to focus on the fifteen RFPs already
25   identified. The need for any further documents cannot be determined without an assessment of
26   DPP documents responsive to the first fifteen RFPs that Defendants have already produced.
27   Karnoski, 926 F.3d at 1206. Nevertheless, in the interest of efficiency, Defendants have met and
28   conferred with Plaintiffs regarding the additional RFPs they improperly have attempted to
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 1   prioritize.
 2          With respect to RFP No. 16 (all documents “relating” to waivers of transgender applicants
 3   for accession), this RFP overlap almost entirely with RFP No. 54, for which Defendants have
 4   already initiated a search for responsive documents. Accordingly, Defendants disagree with
 5   Plaintiffs that the parties currently have a dispute about privilege as to RFP No. 16. See Pls.’
 6   Statement at 2.
 7          With respect to RFP No. 23 (documents “relating” to the June 2017 decision to delay
 8   implementation of the Carter accessions policy), Defendants agree with Plaintiffs that, other than
 9   documents withheld on privilege grounds, all responsive documents have been produced. 5
10          With respect to RFP No. 19 (all documents “relating” to discharge proceedings of
11   transgender service members), as Plaintiffs state, Defendants have agreed to provide additional
12   information about the burdens of collecting responsive documents.
13          With respect to RFP No. 27 (all documents “relating or referring” to the February 22, 2018
14   Mattis Memorandum) and No. 28 (all document “reflecting, referring, or relating” to policies
15   considered as alternatives to current policy), both requests substantially overlap with and are
16   entirely encompassed within RFP No. 29, which is at issue in the Ninth Circuit mandamus
17   petition and covered by its administrative stay. See Order, Dkt. 415. To order production of
18   documents responsive to RFP Nos. 27 or 28 would thus plainly circumvent the Ninth Circuit’s
19   stay order.
20          In fact, RFP No. 27 is essentially co-extensive with RFP 29. The only difference between
21   the two requests is that one seeks documents relating to the Mattis Memorandum (No. 27) and
22   the other seeks documents related to DoD’s Report and Recommendations (No. 29). But the
23   Report and the Mattis Memorandum each contain the same policy recommendation—the Mattis
24   policy—and any material associated with the development of the Mattis policy would “relate” to
25   both documents. Put differently, any document responsive to RFP No. 27 would be responsive to
26
     5
27     To be clear, Defendants are withholding documents responsive to RFP No. 23 not just on deliberative process
     grounds, but pursuant to other privileges as well, such as the attorney-client privilege. Contra Pls.’ Statement at 2
28   (“[T]he Government stated that other than documents withheld on deliberative process privilege grounds, documents
     responsive to these requests have already been produced.”).
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 1   RFP No. 29, and vice versa. Accordingly, Plaintiffs’ selection of RFP No. 27, after the
 2   administrative stay was issued, is urging the Court to disregard that stay.
 3         Defendants do not dispute that they “should engage in the application of the privilege” as
 4   to RFP Nos. 27 and 28. Pls.’ Statement at 3. In fact, they already have done so, by listing every
 5   privileged document responsive to the requests on privilege logs that explain which privilege is
 6   being invoked and the basis for the withholding. What Defendants object to, however, is any
 7   order that would compel production of deliberative documents responsive to RFP Nos. 27 or 28
 8   when production of those same documents has been stayed by the Ninth Circuit and is subject to
 9   further proceedings before the Court of Appeals.
10         In any event, if Plaintiffs believe the Ninth Circuit’s stay is ineffectual, the proper recourse
11   is to ask the Ninth Circuit for relief, which is better positioned to interpret the breadth of its own
12   stay order. In the meantime, this Court should not order disclosures that circumvent the Ninth
13   Circuit’s order.
14   G.    Plaintiffs’ Fourth and Fifth Sets of Discovery Requests
15         Despite having engaged in more than two years of discovery, Plaintiffs recently served two
16   entirely new sets of requests for production—bringing the total number of requests for
17   production served by Plaintiffs and Plaintiff-Intervenor to over 100.
18         Two of these new requests—RFP Nos. 73 and 74—relate to documents in the possession
19   of Defendants’ hybrid fact/expert witnesses. As Plaintiffs state, the parties are preparing an LCR
20   37 joint motion addressing these two RFPs, which they anticipate filing by April 10, 2020.
21   Defendants will respond on the merits to Plaintiffs’ contentions regarding RFP Nos. 73 and 74 in
22   that filing.
23   H.    Depositions
24         Due to the ongoing COVID-19 pandemic, the parties have canceled a number of
25   previously scheduled depositions. Defendants disagree with Plaintiffs that depositions should be
26   re-scheduled for late April because, in all likelihood, any depositions scheduled for the month of
27   April will end up cancelled again. Defendants intend to work with Plaintiffs to tentatively
28   schedule depositions for May and June.
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 1   Respectfully submitted, March 31, 2020.
 2

 3   NEWMAN DU WORS LLP                               UNITED STATES DEPARTMENT OF
                                                      JUSTICE
 4
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19   Peter Perkowski (admitted pro hac vice)          ATTORNEY GENERAL

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     JOINT STATUS REPORT - 11
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     [Case No.: 2:17-cv-01297-MJP]
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 1                                    CERTIFICATE OF SERVICE
 2         The undersigned certifies under penalty of perjury under the laws of the United States of
 3   America and the laws of the State of Washington that all participants in the case are registered
 4   CM/ECF users and that service of the foregoing documents will be accomplished by the
 5   CM/ECF system on March 31, 2020.
 6

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